     Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 1 of 12 Pageid#: 1

                                                                             CLERK'
                                                                                  S OFFICS U.S.DISX COURT
                           IN TH E UM TED STATES DISTRICT COURT                    AT ABINGDON,VA
                                                                                        FILED
                          FO R TIIE W ESTERN DISTRICT OF VIRGINIA
                                                                                      2CT -1 2218
                                                                                  JU A     DLEZ CL RK
JOHNNY QIJINTON CANTOR                                                           svtjb u
                                                                                       TE
and

VICM E ROBINETTE CANTOR                                                    Plaintiffs

V.                              CivilActionNumberD '
                                                   .)% YV/ /
     DEM AND FOR JURY TRIAI,FOR THE COM BW ED COM PLU TIS)OF BOTH PLAINTIFFS

A.J.M CQUEEN                                                               D efendant
ilzboth ltisoo cialand individualcapacitiesacting
tmdercolorofstate law asLeeCotmtyDeputy Sheriff

                                         C O M PLA IN T

        ThePlaintifs,VickieRobinetteCantorandJobnnyQuinton Cantor,filethisComplaint,andask
theCourtforjudm entagainsttheDefendantA.J.M coueenintheamountof
                                         JIM SD IC TIO N

                 ThisactionisbroughtpursuanttotheUnited SutesConstimtion and42U.S.C.jj1983,
1985,and 1988resulting 9om deprivationsand violations,undercolorofsGtelaw,ofPlaintiffsirights

andprivilegestmdertheFourteenth Amendment(incorporatingtheFollrfh andFifth Amendmentsfora
stateactorasallegedherein)oftlieConstitution oftheUnitedStates.A11actscomple edofherein
occurred inLee County,Virginiain theFederalW estem DisM ctofVirginia.

                                             PA R TIES

                 Plaintifsarecitizensand residentsoftheUnited SutesofAm ericaandthe

CommonweatthofVirgirliaandresidedintheFederalW estem DisM ctofVirginiaforal1timesrelevant
to thisaction.
   Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 2 of 12 Pageid#: 2



             DefendantM coueen iscitizenandresidentoftheUnited StatesofAmedcaandthe
CommonwealthofVirginia.Atalltimesrelevanttothiscase,DefendantM coueen wasemployedasa
detective,policeoftk er,deputy shedffand/orDrug Task Force Agentby theLeeCotmty,Virginia

SheriT sDepnrtment,Jonesville,Virginiaanda11misconductoftheDefendantMcoueen givingriseto
thisclaim occ= edin LeeCotmty,VirginiaintheFederalW estern DistrictofVirginia



       4. DefendantM coueen isliableforllisindependentactsofunconstimtionalnegligent
conduct,grossly negligentconduct,recklessconductand m isconductand/orotherillegalconductthat42

U.S.C.j1983prohibits,whichproximatelycatlsedtheeventsherein.


             TheCourthasjudsdictionovertlliscaseptlrsuanttoArticle111,j1oftheUnited States
Constitution,28U.S.C.jj1331and 1367,and42U.S.C.j 1983,andsupplementaljurisdictionpursuant
to28U.S.C.j1367foranypendentandrelatedstate1aw tortsorclaims.Plaintiffsalsoseekan awardof
attomey'sfeespursuantto42U.S.C.j19881).




       6. VenueisproperintheW estem DistrictofVirginiapttrsuantto28U.S.C.j 1391(19.


             ASSFRTION OF 42 V.S.C.:1983 LIABILITY FOR STATE ACTO R

       7. '
          I'
           heactsofDefendantM coueen,whicharethesubjectofthiscauseofaction,were
conducted undercolorandpretense ofstate1aw in theregularcourseand scopeofhisdutiesasan

employee(asdetecive,policeoo cer,deputy sheriffand/orDrug TaskForceAgent)oftheLeeCounty
VirginiaSheriœ sDepndm ent;therefore com tim tingthestam sofastateactor.A11actionsofthe

Defendantssetforth inthisCom plaintwereutmdercolorofstate1aw astheDefendants,in comm itting

                                              2
    Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 3 of 12 Pageid#: 3



theactscomplained ofherein,exercised powerby virtueofstate1aw and madepossibleonly becausethe

DefendantM coueen wasclothedwiththeauthority ofstatelam ''rseeW estv.Adkins.487U.S.42,49
(1988);M onroev.Pape,365U.S.167,172 (liabilityforactingundercolorofstate1aw may apply even
wherestateactor'sactionsviolatedstatelaw);and colorofstateconceptsaremostgequentlyutilizedin
42 U .S.C.1983 civilactionsalleging excessiveforceand deprivation ofcivilrightsby policeofficers

actingundercolorofstatelaw-seeGraham v.Connor,490U.S.386(1990).)TheDefendantM coueenis
suedindividuallyandinltisoftkialcapacity(asdetective,policeom cer,deputysheriffand/orDrug
TaskForceAgent)oftheLeeCountyVirginiaSheriY sDepadment.


                                       STA TEM EN T O F FA CT S
           (with conclusionsofIaw ormixed questionsoffactandlaw supportedby authority)

        8. OnJanuary 19throughJanuary20,2017,Plaintiffs(whoarehusbandandwife)were
thetargetofanundercoverRstingoperation''conductedbytheDefendantM coueenandother1aw
enforcementoo cers.DefendantMcoueeninstnlcted2cov dentialinformantstodeliver
pseudoephedrine(acommonprecttrsorforthemanufactureofmethamphetnmine)tothePlaintiffsattheir
residence.(TheDefendantM coueenwasin cellphoneandtextcommtmicationwiththecoM dential
inform antsaswasproperpolicy and procedure so a11activity oftheoperation could berecorded and

docllmented.)Theplanwasthatoncethepseudoephedrinewassuccessfully,legally andproperly
deliveredtothePlaintiffs,asearchwarrantwould beexecuteduponlheirresidenceforevidenceofthe
manufactureofmethamphetnmine.(A thirdsuspecttargetM arshaRitchiewasalsow1111thePlaintiffsbut
isnotaPlaintiffherein.q
        9. TheconfidentialinformantshoweveradvisedtheDefendantM coueenthatthetargeted
Plaintiffswerenotanswedngtheircalls;were notattheirresidenceand the Plaintifspassed the

confidentialinformantson the streetbutthe Plaintiffswould notstop.Accordingly,the Plaintiffshad no

                                                 3
    Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 4 of 12 Pageid#: 4



contactwith thecov dentialinform ants;had comm itted no crime whatsoeverand hadnotcom mitted any

actsconstitutingre% onable,articulablesuspicion orprobablecause givingriseto any authorizedpolice

stop,search and/orseizure.'
                          fhecov dentialinform antadvised thatithad goneasfaritcould and could

dono m orewith thePlaintiffs.Atthatpoint,theEçsting''operation shouldhavebeen terminated based

upon theconfidentialinformant'sassertion thatthePlnintiffswerenotengaging in illegalactivity.


       10. TheDefendantM coueenhoweverrefusedtoacceptthisresponseastheconclusion ofa
failedRsting''operationand overtlypressmedandcoercedthecov dentialinformantls)toRmakeit
happen''w1t11subsequently disclosed discovery which included comm entary such as

           tldoyouknow how fartheseguys(menningVirginiaStatePoliceTaskForceagentsl
            havecom e...somehavecom e9om W ytheville ...1'm tellingyou guys...the
            Com monwealth Attom ey isherew1111usand iftllisdon'thappen,he'sgoing tobe
            pissed andhe'snotgoingto help you guysout....


       11. ThepressureandcoercionexertedbytheDefendantM coueenontheconfdential
informantswasmisconductonthepartoftheDefendantM coueenandin violationoftheconstimtion,
reasonable standardsofprofessionalpoliceand hw estigativeactionsand a11policiesand procedm esand

explicifinstructionstheDefendantM coueenhadreceiveddirectlyfrom CommonwealthAttorneyFuller
Cridlin;Deputy Comm onwealth Attom ey Sarah W ynn;and hisemployerLee Cotmty SheriffGary

Parsons.

              Underthepressureandcoercion improperlyexertedbytheDefendantM coueen,oneof
the cov dentialinform antsparticipated in aRmeth cook''w111:differentindividualsand thePlaintiffswere

notpresentorhw olved.The evidence 9om thatEEm eth cook''w asplaced in a plastic bag.The cov dential

intbrmantthen subsequently ILLEGAI-LY PLACED A'ND PLAN TED evidencein aplasticbag 9om a

Eçm eth cook''outsidethePlnintic sresidence.Even knowingthatevidence had beenplanted and

fabricateduponthePlaintiffs,theDefendantM coueenstillexecutedtheapparentlyRcontingent''search
warrantuponthePlaintiffs'houseandresidence.(Notsurprisingly,theSearchW arrantwmsissuedonthe
                                                 4
    Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 5 of 12 Pageid#: 5



swom Am davitoftheDefendantM coueenlUponexecutionofthesearchwarrant,therewasnoactual
evidenceofprecursorsorm anufacture ofany drugsorconkaband whatsoeverand theDefendant

M coueenknew attheexecutionofthesearchwarrantthattheevidencehadbeenplantedandfabdcated
bytheconfdentialiltformantts)asbelongingtothePlaintiffs.DefendantM coueenknew thePlaintiffs
wereinnocent.

        13.     Nevertheless,despitetheinnocenceofthePlaintiffsandtheDefendantM coueen's
actualknowledgeofplanted fabricated evidenceby the cov dentialinform ants,both Plaintiffswere

nevertheless= estedbyDefendantM coueen andchargedw1t11criminalchargesofmanufacturing
methamphetnm ineandconkolled subslnnces.

       14.      Thereweremzmerousvoicerecorderrecordingsand cellphonetextsbetween the

DefendantM coueenandthetwocov dentialinformantsonthenightoftheRstingoperation'',thesearch
and the arrestsofthePlaintiffsbeingJanuary 19 through January 20,2017.Theconfidentialinform ants

werelateridentiled asJacquelineYoung and Bradley Fleenor.Theserecordingsandtextsproved the

assertionsalleged inthisComplainthereinabovethatthePlnintiffswereinnocent;thatevidencehad been

fabricated andplantedintheiryard;andthattheDefendantM coueenknew itandstillproceededw1t11the
search,arrestsandsubsequentprosecutionsofthePlaintiffs.TheDefendantM coueen,throughoutthe
prosecution process,told coM icting storiesasto therecordingsand texts.Hetold hissuperiorom cers

and the Com monwealth Attom ey'sOm ceprosecutorsthatno recordingsexisted and/orthatthebatteries
                $. '
had died on therecorder.Laterhedeclared thathedeleted them becausetherewasnothing ofvalue on

them .Subsequently he stated itwmsso long agohedeleted them .Healso informed llissupedorsand

DeputyCommonwealthAttomeysthattherewasonlyonecontidentialinformantinvolved (afemale)
when in factthereweretwo;amaleand afem ale.

       15. Notwithstandingthetnlth,thedefendantMcoueenthenproceededtooblainarrestwarrants
in LeeCounty GeneralDistrictCourtbased on hisswom false sutem entschargingboth PlaintiffsJohnny

                                                5
    Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 6 of 12 Pageid#: 6



CantorandVickieCantorw1t11M anufactllringM ethamphetnmineinviolationofVirginiaCode918.2-
248.Thecasesproceededthrough LeeCounty GeneralDistrictCourtasLeeCounty GeneralDistrict

CourtCaseNum berGC17-200 forJohnny Cantorand asLeeCotmty GeneralDistrictCourtCase

NumberGC17-199)andwerebotmdovertoLeeCountyCirctlitCourtonJuly26,2017forJohnny
Cantorand August23,2017 fprVickieCantor.Indictm entswereissued by theCyrand Jury on September

11,2017upontheswom falsetestimonyoftheDefendantM coueenchargingbothPlahltifflohnny
Cantor(LeeCotmtyCirctlitCourtCaseNumberF17-111)andPlaintif vickieCantor(LeeCotmty
CirctlitCourtCaseNumberF17-123)with 1CotmtofM anufactnringM ethamphetnmineand 1Cotmtof
Conspiracyinviolation ofVirginiaCode918.2-248(alongw1t112lmrelated Countsofpossession of
explosives)wllichwere''apparently''seizedinthetmconstitutionalandillegalsearchofthePlaintiffs'
residence.DuringthecourseoftheprosecutiontheDefendantM coueen alsosubmittedaCertifcateof
Analysisdated June28,2017 identifying aspecimen ofliquid evidence asm ethnmphelam ine.Thisliquid

evidencewassubmittedtotheDepnrfmentofForensicSciencebytheDefendantM coueenhimself,who
ofcotlrseknew ithad been planted astheRm eth cook''bag in thePlaintifs'yard,butnevertheless

contsrmed asproperevidence.

     16. Thistmconstitutionalrlighe are ofillegalfabricated evidence and tmconstimtional

prosecution,directlyandproximatelycausedbytheDefendantM coueen'sactionsandomissions,Snally
endedandthetnlthwasrevealebwhenthedefenseattorneyforthePlaintifflohnnyCantorfiledaMotion
fortherecordingsandtextsbetweentheDefendantM coueenandthetwocoM dentialinformants
JacquelineYoung and BradleyFleenoron the nightoftheGsting operation''being January 19 and 20,

2017.TheDefendantM coueenwasinformedbytheLeeCotmtyCommonwealth DeputyAttorneythata
subpoenacouldbeissued fortherecordingsand textsand itisnotm uch ofan assllmption thatthe

DefendantM coueenmayhaveweighedtheconsequencesofwhatwashappening.Howeveritoccurred,
                        '
                   .


thesubjectrecordingsbetweentheDefendantandthetwoconfidentialinformantsJacquelineYoungand
                                                6
    Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 7 of 12 Pageid#: 7



Bradley Fleenoron thenightofthe çtstingoperation''being January 19 and 20,2017wereçGmigaculoasly''

producedintactbytheDefendantM coueentotheLeeCotmty CommonwealthDeputyAttorneyandhad
notbeen lost,deleted,erased and apparently thebatterieshad notdied eitherastheGtenergizerbtmny''

proclaim sin comm ercialsavailableon any standard cablenetwork.Bmsed on tllisnew exculpatory

evidence;thesurfacingoftherecordings;thedishonestyoftheDefendantM coueenandthefactthat
evidencehadbeen fabricatedandplantedbytheconfidentialinformantts),a11chargesagainstboth
Plnintiffs(includingtheillegally seizedRexplosives'')weremercifullydismissedNovember30,2017by
nolleprosequiontheM otionoftheLeeCountyCommonwea1thAttom ey.(Thethirdsuspectand
defendantâom thehouseand ltsting operation'',M arshaRitchie,notaPlaintif herein,also enduredthe

sameprocessasthePlaintiffsandherchargesw eredism issed Decem ber6,2017by nolleprosequion the

M otionoftheLeeCotmtyCommonwealthAttomey.l
      17.   A11oftheallegationsofthisComplainthave been vedfied by a Giglio Disclosure

M em orandum issuedNovember 16,2017by theLee County Comm onwealth Attom ey'sOflk eand a

copy ofwhich isattached hereto msExhibitA.

     18. TheDefendantM coueen remainsadeputywith theLeeCountySherx sDepartment
atthenling ofthisIitlgadon.

                   FD ERAJUAND STATE CAUSES OF ACTION/DAG G ES

      19.    TheDefendantM coueen'sactsandomissionsconstimteafederalcauseofactionsince
theseactsviolatedPlaintiffs'civilrightsandconstimtionalrightspursuantto42U.S.C.j 1983.Asstated
recentlybytheFourthCircuitCourtofAppealsinM asseyv.Oinniik 759F.3d343(4thCir.2014):
      W ehaverecognized a dueprocessRtrightnotto be deprived ofliberty asaresultofthe
      fabrication ofevidenceby agovernmentofficeractingin an investigating capacity.'''
      W ashindonv.W ilmore,407F.3d274,282(4th Cir.2005)(quotingZahrevv.Coffevs
      221F.3d342,349(2dCir.2000:;seealso,e.g.,Halseyv.Pfeifer.750F.3d273,295-96
      (3dCir.2014).C1(B)yfabricatingevidenceforusein acriminalprosecution,astateactor
      wouldviolateadefendant'sFourteenthAmendmentdueprocessqdghtsregardlessof
      whetherornotthestateactorviolatedotherconstimtionalrightsofthedefendant'').
    Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 8 of 12 Pageid#: 8




  Almost every Federal Circuit has fotmd derlials of due process when charges rest on fabricated

evidence and which likewise supporta 1983 civilrights action forthe Due Process violation.See,e.g.,

Colev.Carson.802F.3d752 (5thCir.2015)(thereisacleadyesàblishedconstimtionaldueprocessright
nottobesubjectedtocriminalchargesonthebasisoffalseevidencethatwasdeliberately fabdcated).
   Fllrthermore,ççitiswellestablishedthataj1983Bradydueprocessclaim maybemssertedagainsta
1aw entbrcementoffcerbased on theofficer'sfailureto disclosefavorablematerialto theprosecutor''.

SeeKvlesv.W hitlev,514U.S.419,435,438-39(1995).(Emphasisadded.)InCarterv.Burch,34F.3d
257,264(4thCir.1994),theFourthCircuitstatedthatRapoliceoffker'sactionsinfailingtoturnover
materially exculpatoryevidencetoaprosecutorviolateld)(the51983plainti/sqconstimtionalrights.''
W hen a 1aw enforcem entoY cer'ssuppression orknowing useoffabdcated orfalseevidence inducesa

unknownandxlnintentionalBradyviolationbytheprosecution(whichislmawareoftheexistenceofthe
fabricated evidence)thereisalsoaconstimtionalviolation ofDueProcesswhich supportsa1983civil
rightsaction agninKttheofficereven though theprosecution wasunaware during thetimeperiod ofthe

continuingBradyviolation.(NOTE:'
                               rhatispreciselywhatwehaveherebeforethisCourt.Thereis
absolutely no indication thatthe Lee Cotmty Comm onwealth Attorney'sOfficeastheprosecution and the

DefendantM coueen'sfellow ofdcers,superiorsorEmployerSheriffhad anyknowledgewhatsoeverof
theDefendantM coueen'stmconstimtionalactsandomissionsandnofaultorliability againstthem is
asserted orintendedto beimplied.Theseagenciesactedproperlyby issuing aGiglidisclosure

immediatelyupontheirknowledgeoftheDefendantM coueen'stmconstitutionalactsandomissions.jA
Bradyviolationencompassesthreeelements:(1)theRevidenceatissuemustbefavorabletotheaccused,
eitherbecauseitisexculpatoryorbecauseitisimpeaching;(2)thatevidencemusthavebeen suppressed
bytheState,eitherwillfullyorinadvertently;and(3)prejudicemusthaveensued.Stricklerv.Green,527
U.S.263,281-82(1999).Clearly,theseelementsarea11presentinthePlaintiffs'clnim.

                                                8
    Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 9 of 12 Pageid#: 9



       20. TheDefendnntM coueen'sactsandomissionsalsoconstimtecommon-law andstatutory
tortstmderVirginia1aw overwhichthisFederalCourthassupplementaljurisdictionptlrsllnntto 28
U.S.C.j1367.Thesearethetortsoffalsearrest/falseimprisonment,trespass(onbothrealestateand on
chattelproperty),kespass,negligentandintentionalinflictionofemotionaldiskessandviolationofVa.
Codej19.2-59(statutoryillegalsearchby1aw enforcement).
              TheDefendantM coueen'sactsandomissionswereinviolation ofallpoliciesand
procedm esofhis1aw enforcementagency and werenegligent,possly negligent,intentionaland/or

deliberately indifferentand willfulandwanton w1t11a recklessdisregard forthetnzth andthePlaintiffs'

constim tionalrights.

       22. AsaproximateanddirectresultofDefendantM coueen'sactionsand omissions,andthe
civilrightsviolationsandstatetortsandviolationsofSutelaw committedbytheDefendantM coueen,
thePlaintiffsweredeprived oftheirliberty and theirrightto DueProcesspursllnntto theFjfth

Amendment;weretmconstitutionallysubjectedtoprosecutiononfabricated andplantedevidence;on
falsestatements,affdavitsandoathsbytheDefendantMcoueen;withoutthebeneftofexculpatory
evidencerequiredpursllanttotheBrady doctrine;werefalselyarrestedandimprisoned(thePlaintiff
JohnnyCantorremainedinjailonthesechargesforeightandone-halfmonthsandhiswifePlaintiff
VicldeCantorspent23daysinjaill;werepersonallysubjectedtoandhadtheirresidenceandproperty
subjectedtoillegalandtmconstitutionalsearch,seimlreanddetentioninviolationoftheFourth
Amendmentand Fourteenth Amendm ent;suffered kespassin violation ofVirginia statelaw;endured

emotionaldiskess;sufferedfmanciallossmsthe(1)PlnintiffvickieCantorlostherjobatGet-ltMarketas
aresultofthearrestandprosecution;(2)thePlaintiffs'residencewasbrokenintoandarobberyoftheir
personalty,goodsandchattelsocc= edduringthefalseimprisonmentinjail;and (3)hadtopostBond
and othercostsand expensesrelated to securing release;and were,to top itoff,urmecessarily charged



                                                 9
   Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 10 of 12 Pageid#: 10



with probation violationsbased onthe illegal,unconstim tionaland false arrestand imprisonmentand had

to endureadditionalprosecution and courtproceedings.

       23. AsaresultoftheFederalconstim tionaland civildghtsviolationscom m itted by the

DefendantM coueenagainstPlaintx s,andDefendantMcoueen'sunlawfulandtortiousconductpursuant
tostate1aw andtheillegalsearchinviolationofVirginiaCodej 19.2-59(overwllichtheCourthas
supplemenM jurisdiction),Plaintiffsareentitledtoanawardofcompensatorydamagesfortheirinjuries,
harms,andlosses,andarealsoentitledtopuniévedamages(supportedbytheDefendantM coueen's
grossly negligent,reckless,intentionaland/ordeliberately indifferentactsand om issionsandegregious

conduct.)
                             FEDER AI,CAU SE O F ACTIO NS

                                          COIJNT NO.1
                  USE OF FABRCIATED EW DENCE AGM NST PLAINTIFFS

      24. TheconductoftheDefendantM coueenby utilizingandfailingtodisclosehisuseof
fabricated andplanted evidence,wlzile engaged in undercoloroflaw,deprived thePlaintiffsofdghts

securedto them by theConstitution oftheUrlited States,including,butnotlimitingto,theirFourteenth

AmendmentRight(incorporatingtheFourth andFifth Amendmentasapplicabletoastateactor)toDue
ProcessofLaw ,includingtherightto be9ee9om illegaland unconstimtionalsearch,seixlre,arrest,

detention and prosecution.

                                          CO ITN T N O .2

            W OLATIO N OF TH E W#WDF DO CTRTNE RIGH TS OF TH E PLM M IFFS

      25. TheconductoftheDefendantMcoueenbyfailingtodisclosethetruthflzlandfactual
evidence wllich would haveexoneratedthePlaintiffsand wllich evidencewmstmdisputedly exculpatory,

favorableand capable ofuse asimpeachm entevidence,whileengaged inundercoloroflaw,deprivedthe

Plaintiffsofrightssecuredtothem bytheUnited SGtesSupremeCourtDecisioninBrak ,andfurther
                                                 10
   Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 11 of 12 Pageid#: 11



violatedtheirFourteenthAmendmentRight(incorporatingtheFourth andFifth Amendmentasapplicable
toastateactor)toDueProcessofLaw andtherighttobe9ee9om illegalandunconstitutionalsearch,
seizure,arrest,detention andprosecution bu ed on planted and fabricated evidence.

                             G    G IM A STA TE LAW CLM M S
                                           COJJNT 5.
                                                   0 .3

                            FALSF ARRESTY ALSE MWPNJSONAQENT

              '
              I'heDefendantM coueen'sactsandomissionsviolatedPlaintiffs'common1aw andVirginia
constim tionalrightto befreeofillegal,tortiousandtmconstim tionalarrestand detention by a stateactor.

                                           CO IJNT NO.4

                         TREPASS ON REAL ESTATE AND CM TTELS

             TheDefendantM coueen'sactsandomissionsviolatedPlaintiffs'common 1aw andVirginia
constimtionalrightto befreeofunauthorized,illegal,tortiousand tmconstim tionaltrespassby a state

actor.

                                           CotIM 'NO.5

                              W OLATION OF VA.CO DE $ 19.2-59
         28. TheforegoingconductoftheDefendantMcoueenconstitutesaviolationofVirginiaCodeâ
19.2-59inthattheDefendantM coueenillegally searchedandseizedcertainofPlaintiffs'realestate,
goodsand chattelproperty.

                                           C o U N T N O .6

             NEGLIGEU O TENTIONAL INFLICTIO N OF EM TIO NAL DISTRG S
         29. TheforegoingconductoftheDefendantM coueen constimtesthenegligent/intentional
tortiousinqiction ofem otionaldiskessupon thePlaintiffs.




                                                 11
Case 2:18-cv-00036-JPJ-PMS Document 1 Filed 10/01/18 Page 12 of 12 Pageid#: 12



W IIEREFORE,Plaintiffspray thattheCourtdo the following:


           EnterjudgmentinPlaintifflohnnyCantor'sfavor,againstdefendantM coueen,awarding
           compensatory dam agesin theam ountof$2,000,000.00.
   2.      Enterjudm entinPlaintifflohnny Cantor'sfavor,againstdefendantM coueen,awarding
           punitivedam agesi.
                            n theam ountof$500,000.00.
   3.      Enterjudm entinPlaintiffvickieCantor'sfavor,againstdefendantM coueen,awarding
           compensatorydamagesintheamountof$2,000,000.00.

           EnterjudgmentinPlaintiffVickieCantor'sfavor,againstdefendantM coueen,awarding
           punitivedam agesin theam otmtof$500,000.00.
   5.      Enterjudm entinbothPlaintifs'favor,againstdefendantM coueen,awardingcostsas
           wellmsattorney fees.

   6.      Plaintiffsfurtherprayforsuch otherreliefaginstdefendantM coueenasmaybejustand
           proper,includingpre-judm entandpost-judm entinterest.
   7.      In accordancew1t11FederalRuleofCivilProcedm e38,Plaintiffsdemandajurytrial.
                JOHNNY QUINTON CANTOR m             W CKIE CANTOR
                                    BY COIJNSEL



        s/RichardD .Kennedy V 58#32883              s/JeremyO'QuinnVSB#78891
             CounselforPlaintiffs                        ColmgelforPlaintiffs
         KENNEDY LAW OFFICE                           THE O'QUU N LAW OFFICE
               P.0 .Box 357                                P.0 .Box 2327
              W ise,VA 24293                               W ise,VA 24293
        276-328-0918;Fax:276-679-2112               276-679-2111;Fax:276-679-2112
          skwiselawz@hotmail.com                         theogllinnlaw@ o ail.com




                                           12
